                          Case 2:13-cv-00193 Document 775-15 Filed on 11/19/14 in TXSD Page 1 of 2
    From                                    Rodriguez       Tony
    To                                      Wroe Jackson
    CC                                      Keith   Ingram        Coby Shorter Watkins              Paul       Peters Joe Bodisch         Robert     Bell      Stephen
    Sent                                    1012013         54220       PM
    Subject                                 Re   Request          Tarrant       County




    1   We can shift an ETC to the senior center                                Friday no problem


2       4 EICs were issued in Tarrant County today                                 2 at the senior center



3 We         need         to nail   down the locations in the valley for next week                               pretty   quick or there will continue to be

coordination              problems




MA         Rodriguez

Sent from my iPad



On Oct 1 2013                  at   1728 Wroe Jackson <SJackson sostexasgov>                                           wrote



Tony


Sorry for the continuing                    emails This one            is   pretty   important          though


I   wondered         if    DPS      might be able to reconsider our request about                              the Tarrant     County seniors event             this   Friday

Although        it   seems like days ago you and                        I
                                                                            spoke about         this    earlier today      and   I   had sent you an email about             it   Monday
afternoon             attached          may stretch units and perhaps staffing but we believe that
                                        I   realize that     it                                      is important to                                      it




attempt   to attend this event We just received   word  that  5 EICs  were  issued  today in Tarrant County This
definitely means a    need exists  there is something  that
                                                       If    we could do to make  this happen please let me know


Friday October 4                 830 AM to 130 PM
Empowering Seniors 2013
FBCE Campus West
205      N Industrial corner Hwy 183 and N Industrial
Bedford        TX 76021


Thanks again               for a    great day today               again     I

                                                                                apologize for overloading you with emails at the                       500 hour          Talk to you

tomorrow morning


Best
Wroe
                                                                                                                                                                 2:13-cv-193
                                                                                                                                                                                     exhibitsticker.com




                                                                                                                                                                 09/02/2014
Wroe Jackson
General Counsel                                                                                                                                                 DEF1450
                           w
Texas Secretary              of State

5124635770                       5124752761           f
wiacksonosostexasgov


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recipients   listed above      is prohibited   without express     authorization   from the    sender



Please note my new email address effective                                         immediately wiacksonasostexasgov


Tony




                                                                                                                                                                                    TEX0506411
                      Case 2:13-cv-00193 Document 775-15 Filed on 11/19/14 in TXSD Page 2 of 2
Tarrant       County has requested                  we use one
                                                 that                       of   our reserve units to attend the Empowering                         Seniors countywide
event THIS           FRIDAY October              4 2013


              Friday October 4               830 AM to 130             PM

              Empowering Seniors 2013
              FBCE Campus West
              205    N Industrial corner Hwy 183 and N Industrial
              Bedford    TX       76021

hftpempoweringseniorscomindexhtml


Would        it   be possible      to   have    this      event covered         by   DPS    staff     Note       this   is   in   addition to the    Dallas    County      locations

that   we should have that day


Thank you for your consideration


Best
Wroe



Wroe Jackson
General Counsel



                      w
Texas Secretary          of State

5124635770                    5124752761              f
wiacksonasostexasgov


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                                                                                                                                                                                TEX0506412
